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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

CASTRO & CO., LLC,        §
    Plaintiff,            §
v.                        §
                          §                            Civil Action No. 3:18-cv-00574-M
DIAMOND OFFSHORE SERVICES §
LIMITED, JANE MUNOZ AND   §
EMILY ROSENBURG,          §
    Defendants.           §

    Memorandum in Support of Defendant Diamond Offshore Services Limited’s
                        Motion for Rule 11 Sanctions

        Defendant, Diamond Offshore Services Limited, seeks sanctions against

(1) plaintiffs, Castro & Co. LLC and Johann Rabe, (2) John Anthony Castro (Castro),

and (3) Plaintiffs’ counsel, Mr. Joshua Scott Milam (collectively Plaintiffs’ Team),

for filing complaints, ECF 1 & 14, in violation of Federal Rule of Civil Procedure 11.

A. Introduction

     1. Plaintiffs are Rabe (Rabe) and Castro & Co.; Defendant1 is Diamond.

     2. Castro & Co. sued Diamond because Diamond would not issue Corrected Wage

and Tax Statements (IRS Form W-2Cs) to a non-U.S. citizen—Rabe—without all the

documentation required by the IRS. ECF 1, 9, & 10. Plaintiffs recently amended their

petition, adding Rabe as a plaintiff, and alleging fraud, tortious interference, and

statutory violations. Plaintiffs seek damages and declaratory relief. ECF 14, 17, & 18.


1
 Defendants Munoz and Rosenberg have been dismissed pursuant to Castro & Co.’s March 16, 2018,
Notice of Voluntary Dismissal. See ECF 4 (dismissal prior to appearance; effective upon filing).
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   3. Rabe has been a Diamond employee for over a decade. When Rabe was hired,

he represented that he was a lawful permanent U.S. resident. Accordingly, Diamond

classified Rabe as such for U.S. federal-tax purposes. As a withholding agent, Diamond

also withheld from Rabe’s compensation—and remitted to the IRS—Rabe’s employee

portion of federal-employment (i.e., FICA) taxes. Diamond also incurred and remitted

to the IRS Diamond’s employer portion of Rabe’s FICA taxes.

   4. In 2017, Diamond was contacted for the first time by Castro, who requested that

Diamond issue Form W-2Cs—for the years 2009 through 2016—in order to reflect

Rabe’s purported non-resident tax status. Castro represented to Diamond that Rabe

relinquished his Green Card in 2008, and as a result became a non-resident for U.S.

federal-tax purposes. Castro advised that Form W-2Cs were being requested from

Diamond so that Rabe could use the forms to obtain a refund from the IRS of Rabe’s

employee portion of the FICA taxes remitted to the IRS by Diamond on Rabe’s behalf.

   5. For tax purposes, a lawful permanent resident generally continues to be classified

as a U.S. tax resident until his status has been administratively or judicially determined

to have been abandoned. 26 U.S.C. 7701(b)(1)(A); 26 U.S.C. 7701(b)(6); Treas. Reg.

§ 301.7701(b)-1(b)(1). To terminate U.S. tax residency by abandonment, a lawful

permanent resident must submit either an Application for Abandonment (I-407) or

both a letter stating his intent to abandon his residency status and an Alien Registration

Receipt Card (Form I-151 or I-551, as may be updated) with the U.S. Citizenship and

Immigration Services (USCIS) or a consular officer. Treas. Reg. §301.7701(b)-1(b)(3).
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   6. Despite Diamond’s multiple requests for documentation proving the termination

of Rabe’s tax residency, Plaintiffs’ Team never provided documentation confirming that

the (incomplete) Form I-407 provided to Diamond was accepted and processed by the

USCIS or by a consular office. Without documentation establishing the termination of

Rabe’s tax residency, Diamond cannot verify Rabe’s purported non-resident tax status,

and cannot issue Form W-2Cs without being exposed to liability and/or penalties.

   7. Plaintiffs’ Team had opportunities to resolve this matter with the IRS, but failed

to do so. Communications between the parties also make clear that Plaintiffs’ Team is

well aware that it has not produced documentation sufficient to justify Diamond’s

issuance of Form W-2Cs. Now, rather than provide the documentation required by law

for Diamond to issue IRS Form W-2Cs, Plaintiffs’ Team is trying to strong-arm

Diamond into submission. Despite constant threats of federal litigation by Plaintiffs’

Team, Diamond has continuously tried to work with Plaintiffs’ Team for over a year,

even hiring a tax lawyer—at Diamond’s expense—to provide tax advice on this matter.

   8. If Diamond were to issue IRS Form W-2Cs based on the materials provided,

Diamond could be subject to a multitude of penalties. For example, 26 U.S.C. § 6721

imposes a penalty against any person for inclusion of incorrect information on an

information return; and 26 U.S.C. § 6722 imposes a penalty against any person for

inclusion of incorrect information on a payee statement. Furthermore, as Diamond is

aware of the lack of substantiating documentation regarding Rabe’s residency status,

Diamond would likely not be able to assert a reasonable-cause defense to any penalties.
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   9. To be clear, if Plaintiffs would simply provide the required documentation, both

Rabe and Diamond would be eligible to request a tax refund for their respective portions

of the FICA taxes remitted to the IRS. In other words, Diamond has an affirmative

incentive to issue Form W-2Cs—a tax refund of its own. But Diamond cannot amend

the Form W-2Cs or request a refund without all the evidence that the IRS requires in

order to amend Rabe’s non-resident tax status without exposing Diamond to liability.

   10. Furthermore, there appear to be procedures permitted by law that Plaintiffs’

Team could undertake in order to obtain a refund of Rabe’s portion of employment

taxes without Diamond having to issue Form W-2Cs. Diamond has advised Plaintiffs’

Team of this; it appears Plaintiffs have not elected to use those procedures.

   11. Plaintiffs’ amended complaint alleges that Diamond failed to comply with the

law by not issuing Form W-2Cs to Rabe. Plaintiffs further allege that, by not issuing the

Form W-2Cs, Diamond is somehow committing fraud, tortious interference, and

breach of a (non-existent) fiduciary duty. ECF 17 and 18. Plaintiffs seek unspecified

damages and an injunction compelling Diamond to issue the Form W-2Cs. Plaintiffs’

claims are without basis in law or fact, and are the subject of a motion to dismiss. Id.

   12. Simply put, Plaintiffs are using litigation in this Court as a means to an end.

Plaintiffs have been unsuccessful in resolving Rabe’s dispute with the IRS, and are now

trying to force Diamond to make a Hobson’s choice: Either absorb significant costs

defending itself from frivolous litigation or capitulate and agree to do Plaintiffs’ bidding.


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    13. The approach taken by Plaintiffs’ Team—i.e., make it impossible to justify the

cost of the fight—is improper and sanctionable. Diamond moves for sanctions against

Plaintiffs’ Team in an amount to be determined by the Court, but bearing in mind

Diamond’s reasonable trial-attorney’s2 fees expended to-date.

    14. After being served, Diamond advised Plaintiffs’ Team that it intended to file a

motion for sanctions related to Castro & Co.’s original complaint. In response,

Castro instructed Diamond to file the motion for sanctions “or shut the hell up.”




ECF 12-1 at *1. As directed by Castro, Diamond served a draft motion for sanctions

on Plaintiffs’ Team on April 12, 2018. ECF 12-1 at *9-28.

    15. Upon receipt of the draft motion, Castro responded similarly to his initial email,

advising Diamond to “Just file the damn motion so you can get laughed out of the

courthouse and the adults can focus on actually resolving this case.”




2
  Diamond seeks only recovery of its trial-attorney’s costs and expenses; at this time, Diamond is not
seeking recovery of the costs and expenses incurred with respect to the work performed by its outside
tax counsel since this case was filed.
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ECF 12-2 at *1. Incidentally, Castro is not an “International Tax Attorney,” as stated

in his signature line. He is not an attorney, and has been admonished by the Florida Bar

(1) not to represent to the public that he is an attorney, (2) that “being a law school

graduate does not authorize you to hold yourself out as an attorney, and (3) that “using

J.D., or a title indicating that you are a lawyer to give the impression that you are a

licensed attorney, is improper.” Ex. 8 at *1 (letter from Florida Bar to IRS regarding

Castro’s unauthorized practice of law) and *10 (letter from Florida Bar to Castro for

failing to respond to the investigator in the Unlicensed Practice of Law Department).

Notwithstanding the Florida Bar’s admonitions (July 2016 and Oct. 2016), Castro

continues to hold himself out as an attorney. By way of example, note the

representations made above in his email identifier, as well as in his signature block.


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    16. Plaintiffs’ Team received an exact copy of this motion at least 21 days before

filing this motion with the Court. ECF 12 & 12-13; Fed. R. Civ. P. 11(c)(2).

B. Argument

    17. A court may impose sanctions on a party, an attorney, or a law firm for presenting

a pleading, written motion, or other paper—whether by signing, filing, submitting, or

later advocating it—for an improper purpose, such as to harass or cause unnecessary

delay or expense. Fed. R. Civ. P. 11(b)(1), (c)(1).

    18. The filing of Plaintiffs’ [sic] Original Complaint, ECF 1, and Plaintiff’s [sic] First

Amended Complaint, ECF 14, violate Rule 11(b). Put simply, Plaintiffs filed their

complaints for an improper purpose: To harass Diamond, cause Diamond unnecessary

expense, and use a lawsuit as a way to extract unwarranted concessions from Diamond.

            1) Filing for an Improper Purpose – Fed. R. Civ. P. 11(b)(1)

    19. Plaintiffs’ Team filed complaints for the improper purpose of harassing

Diamond and needlessly increasing litigation costs. Fed. R. Civ. P. 11(b)(1); Welk v.

GMAC Mortg., LLC, 720 F.3d 736, 738-39 (8th Cir. 2013); Mercury Air Grp., Inc. v.

Mansour, 237 F.3d 542, 548 (5th Cir. 2001).

    20. Plaintiffs’ Team is well aware that Diamond did nothing wrong and is simply

following the law. The failures here are due to Plaintiffs’ inability or unwillingness to

provide the documents Diamond requires, as well as Plaintiffs’ Team’s inability or

3 Plaintiffs’ Team received an identical version of this memorandum on June 28, 2018. Further, Plaintiffs’ Team
also received a functionally identical version—but for slight variance in Paragraph 16 and the addition of this
footnote—more than 21 days ago. See ECF 21, 22, and 24.
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unwillingness to use IRS-permitted procedures to obtain a refund of Rabe’s portion of

FICA taxes without Diamond’s involvement.

   21. To be clear, Diamond has been trying to resolve this issue for Rabe for years, and

Diamond has been working cooperatively with Plaintiffs’ Team for over a year. Ex. 1.

Diamond has consistently asked Plaintiffs’ Team for evidence that Rabe terminated his

U.S. federal tax-residency status, including evidence that Rabe filed an Initial and

Annual Expatriation Statement (IRS Form 8854), a form required to be filed with the

IRS when a U.S. tax resident terminates their permanent residency.

   22. See, for example, this communication to Castro in October 2017:




Ex. 1 at *9. In response, Castro conceded that it was Rabe’s “failure to notify you all

for a decade that he was no longer a U.S. green card holder that caused all of this,” yet

Plaintiffs’ Team continues to threaten Diamond to try and force Diamond’s hand,

stating that “if it doesn’t get fixed now, it’s no longer his fault.” Ex. 1 at *9.

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    23. Diamond implored Castro to provide the required documentation, even

highlighting for Castro the specific Treasury regulations stating that a Form 8854 is

required to establish the termination of Rabe’s U.S. tax residency tax status:

        “Until you file Form 8854 and notify the Department of State or the
        Department of Homeland Security of your expatriating act, your
        expatriation for immigration purposes does not relieve you of your
        obligation to file U.S. tax returns and report your worldwide income as a
        citizen or resident of the United States.”

Ex. 1 at *6 (emphasis in original). In response, Castro continued to demand that

Diamond change Rabe’s tax-residency status “immediately,” and that “failure to fulfill

these requests will result in a federal lawsuit.” Castro then referred Diamond to Castro’s

“Tax Litigator, Joshua Scott Milam, J.D., LL.M.,” whom Castro copied on the email.

Ex. 1 at *4. Castro further directed Mr. Milam to “go ahead and start preparing a federal

lawsuit” because “Rabe is suffering irreparable harm while his company refuses to admit

and correct their mistake….”4 Ex. 1 at *4.

    24. Notwithstanding threats of federal litigation, Diamond advised Plaintiffs’ Team

that Diamond “reached out to our outside tax counsel (Ms. Lisa Rossmiller of Norton

Rose Fulbright) for an opinion on the documentation that Rabe has provided…. Based

on her review…the documentation provided by Rabe is not sufficient….” Ex. 2 at *4.



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 It is also noteworthy that, despite Castro stating that it was Rabe that was suffering harm, the original
complaint filed by Mr. Milam included only one plaintiff: Castro & Co. ECF 1. Rabe was not added as
a plaintiff until after Diamond moved to dismiss the original complaint. ECF 9, 10 (motion to dismiss
and memorandum in support); ECF 14 (Plaintiff’s [sic] First Amended Complaint). Diamond’s motion
to dismiss Plaintiffs’ amended complaint has been filed and is currently pending. ECF 17, 18.
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   25. Diamond provided Plaintiffs’ Team specific quoted language from Diamond’s

outside tax counsel. Id. Diamond even advised that they “are certainly happy to review

any and all additional information…including documentation that Rabe’s I-407 was

accepted by the USCIS or a consular’s office, or a letter from the IRS affirmatively

confirming that Rabe was not a US tax resident for the identified years.” Id.

   26. In response, Castro conceded that Plaintiffs’ Team had not produced a processed

I-407: Castro “contacted an immigration attorney to see how we can obtain the final

processed version of the Form i-407. We should have an answer soon.” Ex. 2 at *2-3.

   27. Plaintiffs’ Team then consulted an immigration lawyer, Ms. Ksenia Maiorova,

claiming that Diamond “was being a ridiculous” [sic] by demanding proof that Rabe

relinquished his U.S. federal tax-residency status:

      “Diamond Offshore is being a ridiculous [sic] and saying the Form i-407
      [sic] we provided (attached) is not sufficient….They are requesting that
      you obtain the completed and processed version…so that they know it
      was, in fact, accepted and processed even though there’s a consular
      signature on the current version (see attached). I’ve copied an Immigration
      Attorney, Ksenia Maiorova, on this email to provide insight on how we
      might be able to obtain a copy of the processed version of the i-407 [sic].”

Ex. 3 at *10. In response, Plaintiffs’ own immigration attorney hits the nail on the head,

stating “Let’s hope it was not submitted at a US Consulate or Embassy, because getting

records from them through FOIA is nearly impossible.” Ex. 3 at *9. The email string

continues, with Rabe representing to Plaintiffs’ Team that the form “was submitted at

the US Consulate in Rio De Janiero, Brasil.” Ex. 3 at *7.

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   28. In fact, Castro even asked an immigration specialist if the form provided to

Diamond—i.e., the “proof” Plaintiffs consistently rely on—would even qualify as

sufficient evidence of Rabe’s status. Ex. 3 at *5. And, like Diamond had already advised,

Plaintiffs’ own immigration lawyer confirms Diamond’s analysis: “It’s incomplete at the

bottom, but you can try.” Ex. 3 at *4.

   29. To be clear, the problem is that Rabe claims to have submitted an I-407 to a U.S.

Consulate, but, despite repeated requests, has never produced a complete copy of it.

It is not Diamond’s fault that Rabe will not or cannot produce a document

required by the IRS to establish that he terminated his U.S. federal tax residency.

   30. And how does Diamond know about all of these otherwise-privileged

communications between Plaintiffs’ Team? Because Plaintiffs’ Team disclosed them to

Diamond’s in-house counsel, Ms. Rosenberg, and to Diamond’s outside tax counsel,

Ms. Rossmiller of Norton Rose Fulbright, along with both another concession regarding

the incomplete nature of his client’s documents and shifting the blame to the U.S.

Consulate, stating “Consulates are known for their incompetence….” Ex. 3 at *3.

   31. Even after all of this, Diamond still tried to work with Plaintiffs’ Team, including

agreeing to participate in a conference with an IRS agent (to determine if there was a

way to satisfy Rabe’s request without exposing Diamond to liability) and directing

Plaintiffs’ Team to IRS procedures to obtain a refund of Rabe’s employee-portion of

his employment taxes without Diamond issuing Rabe IRS Form W-2Cs. Ex. 4 at 13.


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      32. In short, Diamond has gone above and beyond its obligations to assist Rabe.

As it stands, the only impediment to Rabe getting what he wants is himself and his team.

      33. Having been unsuccessful procuring documents from its own client, Castro

turned his threats of federal litigation into a reality. On March 13, 2018, Plaintiffs’ Team

filed a federal lawsuit against Diamond and two individual Diamond employees, ECF 1,

with the sole plaintiff being Castro & Co. (and not even listing Rabe as a person with a

financial interest in the outcome of the litigation). ECF 5.

      34. After filing its frivolous complaint, Plaintiffs’ Team contacted Diamond to

advise Diamond that the lawsuit had been filed, but not served, in order to “provide one

last opportunity to get this resolved with a W-2C.” Ex. 4 at *13. Most tellingly, Castro

even elected to reveal the true reason why Plaintiffs’ Team filed suit against Diamond:

          “The IRS has been unhelpful (not surprised with the slow pace of
          government workers), so the ball is literally in your court.”5

Ex. 4 at *13 (emphasis added). At this point, Diamond had to involve outside trial

counsel, who immediately advised Plaintiffs’ Team of its involvement. Ex. 4 at *12-13.

      35. Castro responded to Diamond’s counsel with an offer of indemnity, thus laying

bare that Castro & Co.’s lawsuit was nothing more than an attempted “squeeze play”

to make Diamond elect between conceding to unreasonable demands and spending

untold amounts of money defending itself from frivolous litigation:




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    Id. (emphasis added).
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      “We’re willing to sign a Settlement Agreement indemnifying
      Diamond Offshore for issuing the Forms [sic] W-2C. We can have
      the case dismissed by Friday afternoon.”

Ex. 4 at *11-12 (emphasis added). In other words, within hours of filing a federal lawsuit

alleging $100,000.00 in damages to Castro & Co.—and no damages to Rabe—Plaintiffs’

Team offers to drop the suit, abandon its sworn damage claim, and fully indemnify

Diamond. Castro’s approach begs the question: Why would Diamond need

indemnification—and why would Plaintiffs offer indemnification—unless issuing the

forms in question would expose Diamond to additional liability?

   36. After confirming the nature of Castro’s involvement—Castro is not a licensed

attorney—counsel for Diamond advised Plaintiffs’ Team that, absent immediate

dismissal of the individual Diamond employees and withholding service on Diamond,

the only discussions between the parties would be the scheduling of oral hearings on

Diamond’s motion to dismiss and motion for sanctions. Ex. 4, at *7; see also Ex. 6,

affidavit of Diamond’s counsel. In response, Castro immediately agreed to drop the

individual defendants (“Agreed, we’ll dismiss the claims against Munoz and Rosenberg

first thing tomorrow”). Ex. 4 at *6.

   37. Further, Castro, sua sponte, conceded that, despite a $100,000.00 damage claim

sworn to in ECF 1, Plaintiffs were “not after any damages,” and were only interested

in Diamond issuing the amended Form W-2Cs:




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      “We’re not after any damages here. We simply want Diamond
      Offshore to comply with established Treasury regulations.”

Ex. 4 at *6 (emphasis added). Castro then began making ad-hominem attacks on

Diamond’s counsel. Id. In response, counsel for Diamond advised Plaintiffs—verbally

and in writing—as to why the complaint was baseless and sanctionable. Ex. 4 at *3-4.

   38. On or about March 22, 2018, Diamond was served with the original complaint.

Counsel for Diamond then advised Plaintiffs’ Team that unless they dismissed the case

and paid Diamond’s trial-counsel fees to-date—only $3,400.00 at the time—that

“Diamond will pursue dismissal, recovery of all associated fees, costs, and expenses in

defending this action, and all available sanctions against both you and your client.”

Ex. 4 at *2.

   39. In response, Castro concedes, again, that Rabe caused these problems, and then

Castro goes on to make a truly bizarre offer: Castro offers Diamond a power of attorney

over Rabe, so that Diamond “can call the IRS” for Rabe. Ex. 4 at *1. Having made this

offer, Castro then takes the position that if Diamond elects not to accept the power of

attorney and negotiate with the IRS, then Diamond is “recklessly disregarding the

facts.” Id. Further, Castro goes on to state that this matter is for the IRS—not

Diamond—to decide, suggesting that Diamond is without basis to insist on proof of

tax residency from Rabe. Id. In closing, Castro states: “Prepare the Forms W-2C [sic]

or we have nothing further to discuss.” Id. (emphasis added).



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   40. Shortly thereafter, Diamond’s tax lawyer made an inquiry to Plaintiffs’ Team

regarding whether they had tried resolving Rabe’s issue using other means that don’t

require Diamond’s involvement (e.g., by following separate procedures permitted by law

in order to obtain a refund of Rabe’s employee-portion of FICA taxes). Ex. 5 at *6.

Castro did not respond, so Ms. Rossmiller followed up a week later. Castro responded:

      “You all had your chance to cooperate with us. Weiner decided to
      burn the bridge with his lack of civility. We’ll see you in court.”

Ex. 5 at *5. Thereafter, counsel exchanged correspondence regarding Diamond’s

anticipated motion for sanctions. Ex. 5 at *2-4. In response, Castro emailed Diamond’s

trial counsel (Mr. Weiner), copying Diamond’s in-house counsel (Mr. Maddux) and

plaintiff’s counsel (Mr. Milam) with a succinct statement of his position:

   “Motion for sanctions or shut the hell up. We’re not dismissing the case.”




Ex. 5 at *1. As of April 2, 2018, non-essential communications between the parties

have broken down.




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   41. The facts above serve to establish that the basis for this frivolous litigation is not,

in fact, that Diamond has done anything wrong. Rather, the facts above establish the

lengths to which Plaintiffs’ Team will go in order to try and strong-arm Diamond into

capitulating to the unreasonable demand that Diamond risk tax liability and penalties

because Plaintiffs can’t or won’t produce the documents required to achieve their goal.

   42. As a result of this frivolous litigation, Diamond has, to-date, incurred at least

$58,131.25 in attorney’s fees and $850.16 in costs with its trial counsel. Additionally,

Diamond has also expended significant fees and costs with respect to its outside tax

counsel (Ms. Rossmiller of Norton Rose Fulbright). At this time, Diamond is not

seeking to recover those fees and costs, but reserves the right to do so.

C. Castro and his counsel appear to exhibit a pattern of sanctionable conduct.

   43. Diamond is compelled to put the Court on notice of additional evidence

supporting the conclusion that the conduct of Plaintiffs’ Team is sanctionable.

   44. In addition to the lawsuit that Plaintiffs filed against Diamond, it appears that

Castro and his counsel, Mr. Milam, have been filing other frivolous lawsuits in the

Northern District of Texas, including other lawsuits for which sanctions may issue.

Specifically, Castro and/or Castro & Co. has filed at least 10 lawsuits filed in the

Northern District of Texas, nine of which were filed between February 2018 and

March 2018, and all of which were filed by Mr. Milam:




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           1) 8.21.17      Castro & Co. v. ADP, 3:18-cv-695-O;
           2) 2.6.18       Castro & Co. v. IRS, et al., 3:18-cv-298-C;
           3) 2.14.18      Castro & Co. v. Fidelity, 3:18-cv-128-Y;
           4) 2.26.18      Castro v. Campbell, 3:18-cv-467-B;
           5) 3.12.18      Castro v. Berg, et al., LLP, 3:18-cv-573-N;
           6) 3.12.18      Castro & Co. v. Diamond et al., 3:18-cv-574-M (Lynn, C.J.);
           7) 3.12.18      Castro v. Gudorf and Gudorf Law Group, 3:18-cv-575-K;
           8) 3.19.18      Castro & Co. v. Anonymize Inc. et al., 3:18-cv-643-N;
           9) 3.19.18      Castro v. Georgetown et al., 3:18-cv-00645-M (Lynn, C.J.)
           10) 3.21.18     Castro & Co. v. Polymath, Inc., 3:18-cv-678-L.

   45. Many of the lawsuits filed by Castro & Co. and/or Castro have a recurring

theme: Castro allegedly taking actions that are highly questionable from both ethical

and legal points of view, getting caught, and then Castro suing whomever caught him

for defamation and other trumped-up claims. For example, in the Campbell, Gudorf, and

Berg cases, noted above, Castro filed defamation claims (including a former client and a

former employer) who allegedly discovered Castro’s legal and ethical failings, and then

warned others about working with Castro. The details of these cases are instructive.

   46. In Campbell, Castro sued his own client for defamation. In Campbell’s response

and counterclaim, Mr. Campbell, like Diamond, seeks sanctions against Castro for what,

if true, is nothing less than shocking levels of misconduct and unethical behavior:

       “When Campbell discovered that Castro had filed fraudulent tax
        returns on his behalf he shared the facts he had discovered with other
        colleagues who had also used Castro’s services. In response, Castro filed
        this baseless lawsuit to ‘silence’ Campbell and force him to incur legal
        fees to defend himself in an out of state court proceeding.” ECF 12-4
        at *1 (emphasis added).


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        “Upon information and belief, Castro regularly engages in the practice of
         preparing and filing erroneous and fraudulent tax returns as part of a
         business practice that targets and takes advantage of non-US citizens working
         in the United States.” ECF 12-4 at *2 (emphasis added).

        “Castro’s lawsuit is groundless and was brought in bad faith solely to
         harass and embarrass Campbell, to force him to incur unnecessary
         legal expense and to compel his silence allowing Castro to continue to
         take advantage of unwitting clients in furtherance of his fraudulent tax
         practice.” ECF 12-4 at *4-5 (emphasis added).

        Castro made multiple false claims related to Mr. Campbell’s tax filings;
         claims that Mr. Campbell never authorized or directed, including a
         litany of truly shocking false claims that had no basis in fact. ECF 12-4
         at *7-8 (emphasis added).

        After Campbell shared his own personal experience with others—with
         the express disclaimer that what he was sharing was “just my
         experience and may not apply to any or all of you”—Castro filed a
         lawsuit, threatened Campbell with sanctions, criminal charges, and
         jail, and then demanded a “permanent gag order for life.” ECF 12-4
         at *8-9 (emphasis added).

        Castro even threatened Campbell’s new tax accountant that if the
         accountant has any contact with anyone other than Campbell, that
         Castro will sue the accountant and go “after his personal assets.”
         ECF 12-4 at *10 (emphasis added).

Castro’s conduct in the Campbell case goes well beyond the allegations stated above.

In fact, on April 13, 2018, the district court (Boyle, J.), on her own motion, transferred

the Campbell case to Michigan because Castro’s response to a show-cause order failed

to establish a basis for venue in the Northern District of Texas. In short, it appears that

Castro and Mr. Milam have no issues filing lawsuits without viable claims.

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   47. Two other lawsuits filed by Castro—Gudorf and Berg—similarly allege claims of

defamation, stemming from actions taken by parties familiar with Castro who, for

whatever reason, allege that Castro “was engaged in unethical or illegal activity.”

   48. In Berg, where Castro seeks defamation and tortious-interference damages of

nearly $250 Million, based on what appears to be the conclusion that Castro, but for

Berg’s conduct, would have been hired by every Australian citizen with certain tax issues.

The district judge (Godbey, J.) in Berg recused himself without explanation. Ex. 5.

In Gudorf, like in Campbell, the district judge (Kinkeade, J.) also transferred the case to

Ohio due to Castro’s failure to establish a basis for venue in this district. Ex. 6.

   49. Finally, the Georgetown case—filed in this Court—is particularly noteworthy.

Georgetown relates to Georgetown University—Castro’s alma mater—refusing to permit

Castro & Co. to participate in Georgetown’s on-campus recruiting program.

Georgetown’s basis for its exclusion of Castro & Co. stems from Castro’s prior

misrepresentations when Castro was a law student: Castro was targeted for expulsion

due to serious misrepresentations regarding his work experience (which Castro

successfully lobbied against; he was ultimately permitted to graduate). Ex. 7 at 8 (*3).

   50. Unhappy with Georgetown’s decision, Castro, like in the Diamond case, sued

not only the organization he believes wronged him and his company (Georgetown and

Diamond, respectively), but also sued the individual employees involved, who were just

doing their jobs (Nan Hunter and Emily Rosenberg/Jane Munoz, respectively).


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   51. And, similar to this case, Castro blames others for his own failings: In Georgetown,

Castro alleges that racial discrimination—and not his own moral and ethical failings—

are the “real” reason Georgetown excluded Castro & Co. from campus interviews.

   52. Like Diamond, the Georgetown defendants filed a motion to dismiss. In that

motion, it is noted that Castro’s conduct was specifically investigated by his law school,

ultimately concluding that “while some of the discrepancies…might have been careless

errors, others appeared to be deliberate misrepresentations.” Ex. 7 at 6 (*1).

Castro’s misrepresentations included “claiming to be a cadet at the U.S. Military

Academy at West Point, when in fact he had only briefly attended a prep school for

students not yet academically qualified to attend West Point.” Id. Further, Georgetown’s

motion alleges statutory bars to every cause of action alleged by Castro. Id. at *7.

   53. Finally, it is noteworthy that Castro and his counsel appear willing to take

contradictory positions in order to force adverse parties to travel long distances

to defend against Castro’s frivolous suits. Diamond notes for the Court that Castro

alleges in some cases that Castro’s office in the District of Columbia. In other cases,

e.g., the Georgetown case, Castro alleges his office is in Dallas, Texas.

   54. First, all addresses listed for Castro & Co. are “virtual” offices where space is

rented as needed on a daily basis—it does not appear that Castro has dedicated offices.

Second, it is noteworthy that if Castro had claimed the District of Columbia as his office

in the Georgetown case—currently before this Court—venue in the Georgetown case would

have been in a venue far more convenient to the Georgetown defendants.
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     55. All of these cases, particularly when considered together, support Diamond’s

contention that Plaintiffs’ Team takes a cavalier approach to the ethical practice of law,

and that they are impermissibly attempting to weaponize the federal courts to settle

scores, extract unwarranted concessions, and strong-arm and intimidate adverse parties.

D. Conclusion

     56. Plaintiffs’ Team is using this case to harass Diamond and to try and force

Diamond to either capitulate to Plaintiffs’ demands or waste time and money defending

a frivolous claim.

     57. For these reasons, Diamond respectfully requests that the Court sanction

Plaintiffs’ Team, jointly and severally, in an amount to be determined by the Court6, but

bearing in mind both Diamond’s actual out-of-pocket, litigation-specific costs, and the

need for the requested sanctions to be sufficient to deter repetition of the sanctionable

conduct. Fed. R. Civ. P. 11(c)(4).




6
 To the extent it is relevant to the Court’s assessment of fees and costs, on March 27, 2018, Castro &
Co. represented to the public that “Castro & Co. grossed $14m in 2017.” Ex. 9 at *1. It appears that
Castro & Co. has since deleted the post from Facebook, however it still appears in a Google search
for the phrase “Castro & Co. grossed $14m.” Id. at *2.
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                                  Respectfully submitted,

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                                Certificate of Service

        All parties received notice of this filing by operation of the Court’s electronic
filing system. Parties may access this filing through the Court’s CM/ECF system.

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